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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO. CR07-038-JLR
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   JORGE LUIS PULIDO-GONZALEZ,          )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:

15          Conspiracy to Distribute Methamphetamine; Distribution of Methamphetamine (2 counts);

16 Possession with Intent to Distribute Methamphetamine

17 Date of Detention Hearing:     Initial Appearance, February 2, 2007

18          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

19 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

20 that no condition or combination of conditions which defendant can meet will reasonably assure

21 the appearance of defendant as required and the safety of other persons and the community.

22 / / /

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

02          (1)    Defendant is reportedly a citizen of Mexico.

03          (2)    It is believed that there is an immigration detainer pending against him. The issue

04 of detention in this case is therefore essentially moot, as the defendant would be released to

05 immigration custody if not detained in this case.

06          (3)    Defendant and his counsel offer no opposition to the entry of an order of detention.

07          (4)    Upon advice of counsel, defendant declined to be interviewed by Pretrial Services.

08 Therefore, there is limited information available about him.

09          (5)    There does not appear to be any condition or combination of conditions that will

10 reasonably assure the defendant’s appearance at future Court hearings while addressing the danger

11 to other persons or the community.

12 It is therefore ORDERED:

13          (1)    Defendant shall be detained pending trial and committed to the custody of the

14                 Attorney General for confinement in a correction facility separate, to the extent

15                 practicable, from persons awaiting or serving sentences or being held in custody

16                 pending appeal;

17          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

18                 counsel;

19          (3)    On order of a court of the United States or on request of an attorney for the

20                 Government, the person in charge of the corrections facility in which defendant is

21                 confined shall deliver the defendant to a United States Marshal for the purpose of

22                 an appearance in connection with a court proceeding; and

     DETENTION ORDER                                                                           15.13
     18 U.S.C. § 3142(i)                                                                    Rev. 1/91
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01         (4)   The clerk shall direct copies of this Order to counsel for the United States, to

02               counsel for the defendant, to the United States Marshal, and to the United States

03               Pretrial Services Officer.

04         DATED this 2nd day of February, 2007.



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06                                             Mary Alice Theiler
                                               United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
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